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UNITED STATES DISTRICT COURT
EASTERN DISTRIC'I` OF LOUISIANA
INDICTMENT FOR RECEIPT OF
CHILD PORNOGRAPHY AND NO'I`ICE OF FORFEITURE

 

UNITED sTATEs oF AMERICA * CRIMINAL No SE81 '- 5%
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v. t SECTION= omit AQG
DoNALD TRosCLAIR * vIoLATioNs= 18 U.s.C. § 2252(a)(2)
18 U.s.C. § 2252(b)(1)
t 18 U.S.C. § 2253
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The Grand Jury charges that:

COUNT ONE - RECEIPT OF CHILD PORNOGRAPHY

Beginning at a time unknown, and continuing until on or about February 28, 2018, in the
Eastern District of Louisiana, and elsewhere, the defendant, D()NALD TROSCLAIR, did
knowingly receive, and attempt to receive, visual depictions, that is, digital images and videos and
computer images and videos, that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce, by any means, including by computer, the production of which

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C.tRmDep.__..,._.”.

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involved the use of minors, including some as young as approximately two years old, engaging in
sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2), and such
visual depictions were of such conduct.

All in violation of Title lS, United States Code, Sections 2252(a)(2) and (b)(l).

NOTICE OF FORFEITURE

l. The allegations of Count One of this Indictment are realleged and incorporated by
reference as though set forth fully herein for the purpose of alleging forfeiture to the United States
of Arnerica pursuant to the provisions of Title 18, United States Code, Section 2253.

2. As a result of the offense alleged in Count One, the defendant, DONALD
TROSCLAIR, shall forfeit to the United States all property, real or personal, constituting or
traceable to gross profits or other proceeds obtained from such offenses; and/or any property, real
or personal, used or intended to be used to commit or to promote the commission of such offense
or any property traceable to such property, in violation of Title 18, United States Code, Sections
2252(a)(2) and 225 3, including but not limited to:

a. a. One (l) Toshiba Satellite Laptop, Model #L505,
S/N: 29067504Q;

b. One (l) Dell Dimension 4700 Desktop, Service Tag:
3HFDF61;

c. One (l) Seagate external hard drive, ]TB, Model: 9ZC2AG-
500, S/'N: BE0818117240;

d. One (1) DVD-R disc labeled “All Smut 12-13-2010 Photos”;
and

e. One (l) CD-R disc labeled “Photos X 6-6-1 l”

3. lf any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendant

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

l\.)

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c. has been placed beyond the jurisdiction ot` the Coult;

d. has bccn substantially diminished in valuc; or

e. has been commingled with other property which cannot bc subdivided
Without difficulty;

it is the intent ofthc United Statcs, pursuant to Titlc 21, United States Codc, Section 853(p) to seek
forfeiture of any other property of said defendant up to the value of the above forfeitable property

All in violation ofTitle 18, United States Code, Section 2253.

A TRUE BILL:

 

DUANE A. EVANS
UNITED STATES ATTIRNEY

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'/ Assistant United States Attorney
Illinois Bar No. 6282956

  

 

New Orleans, Louisiana
.lune l, 2018

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UNITED STATES DlSTRICT COURT
Eastern DiSII'in Of liouisiana
Criminal Dl'vl`S!`()l?

 

 

THE UNITED STATES OF AMER|CA
\'S.

DONALD TROSCLAIR

INDICTMENT

INDICTMENT FOR RECEIPT OF CHILD
PORNOGRAPHY AND NOTICE OF FORFEITURE

 

 

vioLATloNs: 18 usc § 2252 (a)(z)
18 USC § 2252 (b)(i)
18 usc § 2253

 

 

 

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Assistant United tes Attorney

